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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:11-CR-00113-AWI-BAM

12                                Plaintiff,           FINAL ORDER OF FORFEITURE

13   v.

14   ANDY YUNG KWONG CHAN,
     CHIU CHUEN LAU, and
15   TONY CHAO FAN LUO,

16                                Defendants.

17

18          WHEREAS, on May 30, 2014, the Court entered a Preliminary Order of Forfeiture, pursuant to

19 the provisions of 21 U.S.C. § 853, based upon the plea agreement entered into between plaintiff and

20 defendant Chiu Chuen Lau, forfeiting to the United States the below-listed property;

21          AND WHEREAS, on July 11, 2014, the Court entered a Preliminary Order of Forfeiture,

22 pursuant to the provisions of 21 U.S.C. § 853, based upon the plea agreement entered into between

23 plaintiff and defendant Tony Chao Fan Luo, forfeiting to the United States the below-listed property;

24          AND WHEREAS, on January 11, 2017, the Court entered a Preliminary Order of Forfeiture,

25 pursuant to the provisions of 21 U.S.C. § 853, based upon the plea agreement entered into between

26 plaintiff and defendant Andy Yung Kwong Chan, forfeiting to the United States the following property:
27                 a.     Benelli pump action 12 gauge shotgun;
28                 b.     Winchester model 140 12 gauge shotgun;


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 1                  c.      Mossberg model 817 .17 caliber rifle;

 2                  d.      Marlin .22 caliber rifle;

 3                  e.      Kimber custom II .45 ACP pistol, and

 4                  f.      All ammunition and magazines.

 5          AND WHEREAS, beginning on July 8, 2014, July 31, 2014, and January 13, 2017, for at least

 6 30 consecutive days respectively, the United States published notice of the Court’s Order of Forfeiture

 7 on the official internet government forfeiture site www.forfeiture.gov. Said published notice advised all

 8 third parties of their right to petition the Court within sixty (60) days from the first day of publication of

 9 the notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited property;

10          AND WHEREAS, the Court has been advised that the United States sent direct written notice to

11 co-defendant, John Huang, and Seth P. Chazin, defense counsel for John Huang in this criminal case;

12          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

13 property and the time for any person or entity to file a claim has expired;

14          Accordingly, it is hereby ORDERED and ADJUDGED:

15          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

16 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be disposed of

17 according to law, including all right, title, and interest of Andy Yung Kwong Chan, Chiu Chuen Lau,

18 Tony Chao Fan Luo, and John Huang.

19          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

20 United States of America.

21          3.      The United States Marshals Service or the Drug Enforcement Administration shall

22 maintain custody of and control over the subject property until it is disposed of according to law.

23
     IT IS SO ORDERED.
24
     Dated: May 30, 2017
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                                                  SENIOR DISTRICT JUDGE
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